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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF OKLAHOMA

 MISTY YOUNGBERG, individually; MISTY
 YOUNGBERG, as Personal Representative of the
 ESTATE OF KRISTOPHER YOUNGBERG,
 deceased; TIFFANY WALDROP,
 INDIVIDUALLY AND AS GUARDIAN OF                            Case No. 6:20-cv-00339-RAW
 CHRISTOPHER WALDROP; CHRISTOPHER
 WALDROP, BY AND THROUGH HIS
 GUARIDAN TIFFANY WALDROP; SEAN
 CONNELL; CHRISTIE CONNELL; KEVIN
 COFFMAN; HEIDI COFFMAN; WILLIAM
 OVERSHINER; and LAUREN PADGETT;

        Plaintiffs,

 vs.

 GENERAL MOTORS, LLC;

        Defendant.

                                  PLAINTIFFS’ EXHIBIT LIST

          The following exhibits include those that will be offered by Plaintiffs (collectively the

“Federal Agents”), as well as exhibits that may be used to provide a basis for an opinion, a learned

treatise, or for cross-examination of an adverse witness at trial:

 NO.                  EXHIBIT DESCRIPTION                    BATES           OBJECTIONS
   1       2018-10-05 NNSA Accident Investigation
           Report
   2       2018-10-05 Oklahoma Highway Patrol
           Report of Investigation
   3       2018-10-05 Oklahoma Traffic Collision
           Report
   4       2021-06-30 Sean Connell's Third
           Amended Answers & Objections to
           Interrogatories and Request for Production
           from GM
   5       Typed statement of Sean Connell re crash
   6       Plaintiffs' Initial Disclosure


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 NO.           EXHIBIT DESCRIPTION                   BATES    OBJECTIONS
  7      2021-06-04 Amended Complaint,
         Youngberg v GM
  8      6 photos of white dump truck
  9      2019-10-31 First Amended Petition for
         Damages, Youngberg v. Forbus
  10     2019-02-25 Original Petition for Damages,
         Youngberg v. Forbus
  11     Handwritten notations [largely illegible]
  12     2020-08-28 Office of Secure
         Transportation, Federal Agent Medical
         Assessment for Human Reliability
         Program
  13     Safe Driving Techniques for Federal
         Agents
  14     2020-11-12 Life Care Plan for Sean
         Connell
  15     First Amended Notice of Oral and
         Videotaped Deposition of Defendant
         General Motors LLC on Risks
  16     First Amended Notice of Oral and
         Videotaped Deposition of Defendant
         General Motors LLC on Safer Designs
  17     First Amended Notice of Oral and
         Videotaped Deposition of Defendant
         General Motors LLC on the Model Van
         Designs and Warnings
  18     General Motors LLC's Responses and
         Objections to Plaintiffs' First Amended
         Notice of Oral and Videotaped Deposition
         of Defendant General Motors LLC on
         Safer Designs
  19     General Motors LLC's Responses and
         Objections to Plaintiffs' First Amended
         Notice of Oral and Videotaped Deposition
         of Defendant General Motors LLC on
         Risks
  20     General Motors LLC's Responses and
         Objections to Plaintiffs' First Amended
         Notice of Oral and Videotaped Deposition
         of Defendant General Motors LLC on the
         Model Van Designs and Warnings
  21     Brian E. Thompson Resume



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 NO.         EXHIBIT DESCRIPTION                   BATES   OBJECTIONS
  22   Chart re: GM System Safety Process
       Statement of Work, Appendix B
       [COFFMAN000041053]
  23   Summary of Applicability of System
       Safety Process Requirements based on
       ASIL, Appendix C
       [COFFMAN000041054]
  24   1993-06-18 MMWR Weekly Article re:
       Economic Impact of Motor-Vehicle
       Crashes - United States, 1990
       [AGENTS000008]
  25   1996-10 NHTSA Benefits Working Group
       Paper re: Preliminary Assessment of Crash
       Avoidance Systems Benefits
       [AGENTS0000011]
  26   1998 IEEE Article re: Development of
       Collision Avoidance Systems at Delphi
       Automotive Systems
  27   Excerpts re: NHTSA Automotive
       Collision Avoidance System, Field
       Operational Test, First Annual Report,
       [AGENTS000137]
  28   2019-08-22 Affidavit of Brian E.
       Thompson; Wen v. GM [AGENTS01187]
  29   2021-06-14 Affidavit of Brian E.
       Thompson; Youngberg v. GM
  30   NTSB Special Investigation Report re:
       Vehicle and Infrastructure-based
       Technology for the Prevention of Rear-end
       Collisions [AGENTS000321]
  31   5/10/04 2006 GMX-272 Subsystem
       Technical Specification Re: Adaptive
       Cruise Control with Forward Collision
       Alert [COFFMAN000039936]
  32   Presentation re LDW/FCA CR/DN
  33   Change Request/Decision Notice Re:
       GMT966/967/561 CVWG '12 MY - Study
       Impacts Add Single Camera Dual Mode
       LDW & FCA [COFFMAN00024646]
  34   2011-07-28 Purchase Contract, Magna
       Electronics-GM Re: Camera ASM-FRT
       View ECCN=6A993
       [COFFMAN000040976]


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 NO.         EXHIBIT DESCRIPTION                   BATES   OBJECTIONS
  35   2011-02-02 Component Technical
       Specification Re: Front Camera Module
       [COFFMAN000032851]
  36   2010-01-22 Feature Technical
       Specification Re: Forward Collision Alert
       [COFFMAN000032822]
  37   2012-11-05 Purchase Contract, Magna
       Electronics-GM Re: Camera ASM-FRT
       View ECCN=6A993
       [COFFMAN000040793]
  38   2013-05-06 Purchase Contract, Conti
       Temic-GM Re: Camera ASM-FRT View
       ECCN=6A993 [COFFMAN000040858]
  39   Feature Technical Specification Re: Front
       Impact Mitigation
       [COFFMAN000011354]
  40   Component Technical Specification Re:
       Generation 3 Front Camera Module
       [COFFMAN000029674]
  41   Component Technical Specification Re:
       Re: Camera and Image Processing
       Module Generation 4 Front Camera
       Module [COFFMAN000011508]
  42   Component Technical Specification Re:
       Long Range Radar
       [COFFMAN000011649]
  43   Component Technical Specification Re:
       Short Range Radar Enhanced Safety
       System [COFFMAN000011794]
  44   2013 Cadillac SRX Owner Manual
       excerpts [COFFMAN000035143]
  45   2012-05-09 GM Evaluation Report Re:
       2013 GMT16X Forward Collision Alert
       System Confirmation Test
       [COFFMAN000032727]
  46   CIB Summary Data Sheet Re: Collision
       Imminent Braking
  47   GM Evaluation Report Re: 2013 GMT155
       Collision Imminent Braking Feature
       Subsystem Validation Test
       [COFFMAN000032638]
  48   Data Sheet CG2927 for GMW16624 Re:
       Imminent Alert [COFFMAN000006196]


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 NO.         EXHIBIT DESCRIPTION                  BATES    OBJECTIONS
  49   Activity Request 2018-02-27-28412 Re:
       Vehicle No. GPKNT201
       [COFFMAN000006194]
  50   2018-11-06 GM Authority Article Re:
       2019 Chevrolet Express Van Gets Forward
       Collision Alert [AGENTS001748]
  51   Component Technical Specification Re:
       Generation 5 Front Camera Module
       [COFFMAN000007474]
  52   2017-07-27 Feature Technical
       Specification Re: Forward Impact
       Mitigation [COFFMAN000007898]
  53   2018-02-19 GM Evaluation Report Re:
       2019 GMT 610 ESS1 Forward Collision
       Alert Feature Subsystem Test GMW16624
       [COFFMAN000006122]
  54   2013 Chevrolet Express Owner Manual
       [COFFMAN00000053]
  55   GM Evaluation Report Re: 2009 GMT610
       Brake Assist System based on Brake Pedal
       Application Speed Test
       [COFFMAN000029229]
  56   GM Evaluation Report Re: 2019 GMT610
       ESS1 GMW16374 Forward Collision
       Warning NHTSA NCAP System
       Confirmation Test
       [COFFMAN000006200]
  57   Spreadsheet Re: MVSS 126, Electronic
       Stability Control [COFFMAN000033890]
  58   Spreadsheet re: Features/Content
       Electrical Architecture Support (NG
       Cadillac STS)
  59   PowerPoint re: NG HD G-Van Program
       Scope Alternatives
  60   2013 Chevrolet Express Owner Manual
       [COFFMAN0000053]
  61   2013 Chevrolet Express Owner Manual
       excerpts
  62   2012-01 PowerPoint Re: Fullsize Van U.S.
       Commercial Fleet Managers & Upfitters
       Total Cost of Ownership




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 NO.          EXHIBIT DESCRIPTION                     BATES   OBJECTIONS
  63   2012-01 PowerPoint Re: Fullsize Van U.S.
       Commercial Fleet Managers & Upfitters
       Total Cost of Ownership
  64   Change Request/Decision Notice re:
       Backup Camera with Mirror Display
       [COFFMAN000039652]
  65   Change Request/Decision Notice re:
       Backup Camera with Mirror Display with
       Demonstrative Excerpts
  66   GM Evaluation Report Re: Hydraulic
       Brake System - FMVSS 105 Validation
       [COFFMAN000031618]
  67   Demonstrative Excerpts Re: Exhibit 66
  68   GM Evaluation Report Re: 2009 GMT610
       Brake Assist System based on Brake Pedal
       Application Speed Test
       [COFFMAN000029229]
  69   Demonstrative Excerpts Re: Exhibit 68
  70   2013 Cadillac SRX Owner Manual
       [COFFMAN000035143]
  71   Demonstrative Excerpts Re: Exhibit 70
  72   PowerPoint re: GMC Savana & Chevrolet
       Express Stabilitrak
       [COFFMAN000040779]
  73   Demonstrative Excerpts Re: Exhibit 72
  74   General Motors LLC's Amended and
       Supplemental Responses and Objections to
       Plaintiff Misty Youngberg's First Set of
       Interrogatories Nos. 3, 6, 7, 9, 10, 12, 13,
       14, 15, 16, 17 and 18 to Defendant
       General Motors LLC
  75   2020-02-03 Purchase Contract ZF Active
       Safety-GM Re: Camera ASM-FRT View
       ECCN=6A993 [COFFMAN000011037]
  76   Binder of Documents Produced by the
       Witness
  77   PowerPoint re: Crash Avoidance NCAP
       Strategy Vision-based Lane Departure
       Warning & Forward Collision Alert, Roll-
       out Plan & Tier 2 Proposal




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 NO.         EXHIBIT DESCRIPTION                  BATES    OBJECTIONS
  78   2002-03-07 PowerPoint Re: GMT610
       2003 Chevy Express & GMC Savana Van
       Safety Performance
  79   2013 Cadillac SRX Owner Manual
  80   Demonstrative Excerpts Re: Exhibit 79
  81   Popular Mechanics Special Recognition
       Re: Breakthrough Award Winners for
       2012 for Crash Avoidance System
       [COFFMAN000041059]
  82   Demonstrative Exhibit Re: Exhibit 81
  83   Ray Kiefer deposition exhibits from
       Spencer v GM
  84   GM Heritage Center, Self-Driving Cars in
       1956
  85   1956 Firebird II video from GM Heritage
       website
  86   2021-08-17 Cadillac Concept had radar
       crash-avoidance in 1959
  87   1979 Struble - Highlights of RSV program
  88   1980 Kossar High Technology RSV
  89   1996-10 NHTSA Prelim Assess of Crash
       Avoid [EXCERPTS 11 p]
  90   1996-10 NHTSA Preliminary Assessment
       of Crash Avoidance Systems Benefit
       AGENTS000011-AGENTS000122
  91   2000-12 NHTSA Auto Collision
       Avoidance System Field Operation Test,
       1st Annual Report. AGENTS000137-
       AGENTS000304
  92   2001-05-01 NTSB Special Investigation
       Report, Vehicle & Infrastructure Based
       Techology for Prevention of Rear-end
       Collisions
  93   2005 Automotive Collision Avoidance
       System Field Operational Test Final
       Report, NHTSA
  94   2005-06-06 Motor Vehicle Safety
       Technology Development, The Road
       Ahead. AGENTS011939-
       AGENTS011956
  95   2008 Saturn Ad - The Rich Don't Deserve
       to be Safer
  96   2010 NHTSA Safety is Not an Option


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 NO.          EXHIBIT DESCRIPTION                  BATES   OBJECTIONS
  97   2011-01 Devel of Camera-Based Fwd
       Collision Alert Sys AGENTS000465-
       AGENTS000476
  98   2012-02-10 Sensor Fusion Enables
       Cadillac Safety Adv, AGENTS000638
  99   2013-01 23ESV-000194 Advanced Brake
       Assist - Real World effectiveness
       AGENTS001107-AGENTS001120
 100   2014-01 UMTRI Assess of Eff of Adv
       Collision Avoid Tech AGENTS001121-
       AGENTS001165
 101   2014-09-09 GM Envis Day When Cars
       Don’t Crash AGENTS001173-
       AGENTS001176
 102   2016-01-27 Effect of fwd collision
       warning & auton emergency braking
       AGENTS001490-AGENTS001500
 103   2017 25ESV-000283 Performance
       Comparison bt Camera Only AEB-FCW
       &
 104   2017-04 HLDI Bull34.06 GM collision
       avoidance feats AGENTS001508-
       AGENTS001525
 105   2018-08-08 The history of adaptive cruise
       control _ Autonomous Veh Intl
 106   2018-10 Field Study of Lt-Veh Crash
       Avoid Systems, Autom Em Braking
       COFFMAN000008209
 107   2018-11-13 IIHS GM front crash
       prevention systems cut police-reported
       crashes AGENTS001758-
       AGENTS001761
 108   2019-07-12 Anal of Field Eff of GM Prod
       Act Safety & Headlights Sys
       COFFMAN000010081
 109   2019-09 UMTRI Anal of Field
       Effectiveness of GM Safety & Adv
       Headlighting Systems AGENTS001790-
       AGENTS001822
 110   2021-06-20 Field effect of GM adv driver
       assist & headlight sys
       COFFMAN000038801
 111   Dr. Kiefer Binders re: File Materials


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 NO.          EXHIBIT DESCRIPTION                    BATES   OBJECTIONS
 112   [not used] (Kiefer, Ray)
 113   [not used] (Kiefer, Ray)
 114   [not used] (Kiefer, Ray)
 115   1996-10 NHTSA Benefits Working Group
       Report, Preliminary Assessment of Crash
       Avoidance Systems Benefits [AGENTS
       11]
 116   Excerpts re: October 1996 NHTSA
       Benefits Working Group Report,
       Preliminary Assessment of Crash
       Avoidance Systems Benefits [AGENTS
       11]
 117   2005-05 NHTSA Final Program Report
       Re: Automotive Collision Avoidance
       System Field Operation Test [COFFMAN
       24947]
 118   2005-05 NHTSA Final Program Report
       Re: Automotive Collision Avoidance
       System Field Operation Test [COFFMAN
       24947]
 119   2013 Cadillac SRX Owner Manual
       [COFFMAN 35143]
 120   Excerpts re: 2013 Cadillac SRX Owner
       Manual [COFFMAN 35143]
 121   Elsevier Accident Analysis and Prevention
       Article Re: "Field effectiveness of General
       Motors advanced driver assistance and
       headlighting systems [COFFMAN 38801]
 122   Excerpts re: Elsevier Accident Analysis
       and Prevention Article Re: "Field
       effectiveness of General Motors advanced
       driver assistance and headlighting systems
       [COFFMAN 38801]
 123   Popular Mechanics Special Recognition
       Re: Breakthrough Award Winners for
       2012 for Crash Avoidance System
       [COFFMAN000041059]
 124   Excerpts from Popular Mechanics Special
       Recognition Re: Breakthrough Award
       Winners for 2012 for Crash Avoidance
       System [COFFMAN000041059]
 125   2019-04-26 Overshiner's Answers to
       Forbus Interrogatories


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 NO.          EXHIBIT DESCRIPTION                   BATES   OBJECTIONS
 126   Statement of William Overshiner
 127   2018-10-08 Dr. Kelley History (William
       Overshiner)
 128   OKHP Drawing of scene, with yellow
       highlights
 129   2020-12-29 Superior Health Care re
       Overshiner 848-861
 130   2019-02-23 Opinion Notes of Dr.
       Christopher Jordan (Overshiner 862-868)
 131   2018-10-16 ODP/OHP Memo of Interview
       of Kevin Coffman
 132   Nuclear Materials Courier GS-084-10 re
       transport of nuclear materials
 133   4 Pre-collision photographs of van
 134   OST Basic Off Road Driving - Tactical
       Vehicle Operations
 135   2015-2020 Kevin Coffman W2s
 136   2019-06-12 Kevin Coffman Answers to
       Direct Traffic Control's Interrogatories &
       Request for Production (highlighted)
 137   2020-11-10 Life Care Plan for Kevin
       Coffman, by Jason Marchetti, MD,
       FAAPMR, CLCP
 138   2019-06-17 Overshiner Discovery
       Responses to DTC
 139   2020-11-24 Life Care Plan for William
       Overshiner, 0744-0801
 140   Jeffrey Clark LinkedIn Profile
 141   Technical Description of the Radar System
       ARS300, Rev. 2.8. COFFMAN00041064-
       41111
 142   2011-12-16 Enhanced Safety System
       (ESS) & Volume Safety System (VSS)
       Long Range Radar Positioning and
       Mounting Requirements, Rev. 2.2.
 143   Presentation, Component Technical
       Specification - Long Range Radar
 144   2018-10-05 Daniel Forbus statement to
       OKDP, AGENTS003983-3984
 145   Lights on rear of 1996 Kenworth dump
       truck, with red circles, AGENTS004001




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 NO.         EXHIBIT DESCRIPTION                   BATES   OBJECTIONS
 146   Crash scene rendering, with vehicles, by
       Trooper Baker, AGENTS003961
 147   Photos of crash scene and vehicles,
       AGENTS010708, 010712, 011113,
       011110
 148   Four photos of dump truck and van,
       AGENTS010639
 149   Tom Sliney's LinkedIn Profile
 150   2002-11-01 NTSB Safety
       Recommendation H-02-29 re potential of
       technological systems, particularly
       electronic stability control systems, to
       assist drivers of 15-passenger vans
       [AGENTS015536-AGENTS015540]
 151   2004-06 NHTSA/DOT HS 809 704
       Testing the Dynamic Rollover Resistance
       of Two 15-Passenger Vans with Multiple
       Load Configurations [AGENTS015569-
       AGENTS015629]
 152   2002-11-19 Market Segment: Large
       Passenger Vans charts [file
       COFFMAN000036285.XLS]
 153   2002-08-26 GM Evaluation Report,
       FMVSS 105, MY2004 G33706 GMT610,
       Hydraulic Brake System Validation
       [COFFMAN000031618-
       COFFMAN000031652]
 154   Excerpt from 2002-08-26 GM Evaluation
       Report, FMVSS 105, MY2004 G33706
       GMT610, Hydraulic Brake System
       Validation [COFFMAN000031618-
       COFFMAN000031652]
 155   Excerpt from 2013 Chevrolet Express
       Owner's Manual re Driving and Operating;
       Braking
 156   2012-01 Fullsize Van, US Commercial
       Fleet Managers & Upfitters, Total Cost of
       Ownership. Excerpts
 157   2010-01-08 GM Change Request /
       Decision Notice, Backup camera with
       Mirror Display, MY2013 & beyond




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 NO.         EXHIBIT DESCRIPTION                   BATES   OBJECTIONS
 158   Excerpt from 2010-01-08 GM Change
       Request / Decision Notice, Backup camera
       with Mirror Display, MY2013 & beyond
 159   2010-08-26 Change Request / Decision
       Notice, Backup sensors for rear park
       assist, MY2013 & beyond
 160   Excerpts from 2010-08-26 Change
       Request / Decision Notice, Backup sensors
       for rear park assist, MY2013 & beyond
 161   2015-09-24 Change Request / Decision
       Notice, Green Zone - Add Lane Departure
       Warning (UFL) & Forward Collision Alert
       (UEU), MY2019 & beyond
 162   Excerpts from 2015-09-24 Change
       Request / Decision Notice, Green Zone -
       Add Lane Departure Warning (UFL) &
       Forward Collision Alert (UEU), MY2019
       & beyond
 163   OHP Trooper Baker's Interview of Donald
       Thomas
 164   OHP Statement of Donald Thomas

 165   Audio of OHP Trooper Baker's Interview
       of Donald Thomas
 166   Resume of Lisa Manwell
 167   Trooper Tim Baker's resume
 168   OHP Motor Vehicle Death Case File
 169   OHP Photographic Log [Agents 10625 –
       10629]
 170   OHP Photos [Agents 10630, 10637,
       10654, 10655]
 171   OHP Photos [Agents 11083 – 11100]
 172   OHP Trooper Baker's Investigative
       Activity Report
 173   OHP Supplemental Report, Removal of
       Van Contents
 174   OHP Skid test
 175   LinkedIn profile of Earl Harris




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 NO.          EXHIBIT DESCRIPTION                      BATES   OBJECTIONS
 176   2021-06-04 GM's Amended and
       Supplemental Responses and Objections to
       Plaintiff Misty Youngberg's First Set of
       Interrogatories Nos. 3, 6, 7, 9, 10, 12, 13,
       14, 15, 16, 17, and 18 to Defendant
       General Motors
 177   Brochure: 2004 Cadillac XLR Base 2dr
       Roadster pricing & specifications,
       AGENTS015652-AGENTS015665
 178   2005 Cadillac STS review - Roadshow,
       AGENTS013357-AGENTS013361
 179   2006-09-01 2006 Cadillac DTS, The last
       stalwart at Cadillac gets a sportier shape.
       Car & Driver. AGENTS013921-
       AGENTS013927
 180   2011-09-29 New Camera-Based Collision
       Alert Debuts on GMC Terrain. GMC
       Pressroom. AGENTS013948-
       AGENTS013949
 181   2012-03-27 Technology on XTS, ATS
       Can Help Avoid Crashes. GM Newsroom.
       AGENTS013952-AGENTS013954
 182   2012-04-02 Cadillac Enhances
       Technology and Design on 2013 SRX.
       GM Newsroom. AGENTS013955-
       AGENTS013961
 183   2013-05-29 2014 Sierra Denali Pairs
       High-Tech Luxury and Capability. GM
       Newsroom. AGENTS015294-
       AGENTS015297
 184   2013 Chevrolet Express Owner's Manual,
       Table of Contents, Coffman000053
 185   2021-10-06 General Motors' Second
       Supplemental Responses and Objections to
       Plaintiff's First Set of Interrogatories, No.
       12
 186   Connell Retention Agreement (Marchetti
       file)
 187   Examinee Information Form (Marchetti
       file – Connell)
 188   Notes from Interview (Marchetti file –
       Connell)
 189   Dr. Risko Letter (Marchetti file – Connell)



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 NO.          EXHIBIT DESCRIPTION                    BATES   OBJECTIONS
 190   Overshiner Retention Agreement
       (Marchetti file – Connell)
 191   Examinee Information Form (Marchetti
       file)
 192   Notes from Interview (Marchetti file)
 193   2021-11-01 Ms. Cox's initial report
       regarding Kevin Coffman
 194   Lisa Cox's CV
 195   Lisa Cox's testimony list
 196   Lisa Cox's handwritten notes regarding
       Kevin Coffman
 197   Emails between Kevin Coffman and Lisa
       Cox
 198   Firearms Instructor Position Description
 199   Physical Performance Requirements
       Group A (Firearms)
 200   2021-11-04 Initial Report of Ms. Cox
       regarding Sean Connell
 201   Ms. Cox's handwritten notes concerning
       Sean Connell
 202   List of DOE tests with dates and scores for
       Sean Connell
 203   2021-10-281 Initial Report of Ms. Cox
       regarding William Overshiner
 204   Ms. Cox's handwritten notes concerning
       William Overshiner
 205   Record from Dr. McAlpin related to MMI
       for William Overshiner
 206   2021-11-24 Notice of Deposition of
       Sharna Wood
 207   Sharna Wood, Ph.D. CV
 208   2020-01-01 Pricing Menu for Sharna
       Wood, Ph.D.
 209   Sharna Wood, PhD. Testimony List
 210   2020-11-11 Sharna Wood, Ph.D. Invoice
       re Christopher Waldrop
 211   2022-02-21 Sharna Wood, Ph.D. Invoice
       re Christopher Waldrop
 212   Access Texas / Sharna Wood, Ph.D.
       questionnaire re Christopher Waldrop




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 NO.          EXHIBIT DESCRIPTION                   BATES   OBJECTIONS
 213   2020-11-16 Dr. Sharna Wood's
       Neurological Assessment report for
       Christopher Waldrop
 214   Notice of Videotaped Deposition of Dr.
       Jason Marchetti
 215   Dr. Marchetti’s Retention Agreement
       (Waldrop)
 216   Dr. Marchetti’s Invoices (Waldrop)
 217   Dr. Marchetti’s Testimony List
 218   Dr. Marchetti’s Catastrophic Life Care
       Plan for Christopher Waldrop, dated Jan.
       18, 2021
 219   Dr. Marchetti’s Examinee Information
       Form for Christopher Waldrop
 220   Dr. Marchetti’s Intake Questionnaire for
       Christopher Waldrop
 221   Retention Agreement between Dr.
       Marchetti and Kevin Coffman
 222   Dr. Marchetti's invoices concerning work
       on behalf of Kevin Coffman
 223   Dr. Marchetti's patient questionnaire
       concerning Kevin Coffman
 224   2020-11-10 Life Care Plan for Kevin
       Coffman
 225   2021-10-18 Life Care Plan for Kevin
       Coffman
 226   1 Kiefer (1999) Development and
       Validation of Functional Definitions and
       Evaluation Procedures for Collision
       Warning Avoidance Systems (Keifer
       DepEx 83)
 227   2 Kiefer (2005) Status of NHTSA's Rear
       End Crash Prevention Research Program
       (Keifer DepEx 83)
 228   3 2018 Toyota Ad Common Sense, Meet
       Toyota Safety Sense (Keifer DepEx 83)
 229   4 2019 Analysis of the Field Effectiveness
       of General Motors Production Active
       Safety and Advanced Headlighting
       Systems (Keifer DepEx 83)




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 NO.         EXHIBIT DESCRIPTION                   BATES   OBJECTIONS
 230   5 2020 General Motors, University of
       Michigan Show Automated Safety
       Features Preventing Crashes (Keifer
       DepEx 83)
 231   6 2001 SAE FCW Prelim Require for
       Crash Alert Timing 2011-03-05 (Keifer
       DepEx 83)
 232   7 11.1 Benefit Analysis for Rear End
       Collision Avoidance Systems Bosch 09-
       0281 546-553 (Keifer DepEx 83)
 233   8 Video: Kiefer General Motors,
       University of Michigan Show Automated
       Safety Features Preventing Crashes
       10.09.2020.mp4 (Keifer DepEx 83)
 234   9 Transcript from Kiefer video on GM
       website.docx (Keifer DepEx 83)
 235   10 ISO_15623_2013(en) (Keifer DepEx
       83)
 236   11 j2400_200308.fm (Keifer DepEx 83)
 237   12 2001 SAE FCW Prelim Require for
       Crash Alert Timing 2011-03-05 (Keifer
       DepEx 83)
 238   13 3.1 2018 GMC Sierra Download by
       Sheriff 272-301 (Keifer DepEx 83)
 239   14 2016 Kiefer author NHTSA Large
       Scale Field Test of Forward Collision
       Avoidance and Lane Departure Warning
       System Feb 2016 773-902 (Keifer DepEx
       83)
 240   15 Video: 16.1 Equinox Chevrolet Pitch
       Black Commercial 2157.mp4 (Keifer
       DepEx 83)
 241   16 Video: 16.2 Equinox Forward Collision
       Alert Math Problem Chevy Films
       2158.mp4 (Keifer DepEx 83)
 242   17 Video: 16.3 Equinox Forward Collision
       Alert Think Fast Chevy Films 2159.mp4
       (Keifer DepEx 83)
 243   18 2001 Rear End Collision Warning
       System Field Operation Test Status Report
       (Keifer DepEx 83)
 244   19 2001 Risk Assessment and Product
       Liability by Ross & Main (Keifer DepEx
       83)


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 NO.         EXHIBIT DESCRIPTION                   BATES   OBJECTIONS
 245   20 2003 Automotive Collision Avoidance
       System Field Operational Test ACAS FOT
       3rd Annual Report CAMP (Keifer DepEx
       83)
 246   21 2003 Forward Collision Warning
       Requirements Project Final Report Task 1
       CAMP (Keifer DepEx 83)
 247   22 2003 Second Annual Report of the
       Crash Avoidance Metrics Partnership
       CAMP (Keifer DepEx 83)
 248   23 2005 Third Annual Report of the Crash
       Avoidance Metrics Partnership CAMP
       (Keifer DepEx 83)
 249   24 2006 Context-aware Pedestrian
       Detection Using LIDAR (Keifer DepEx
       83)
 250   25 2007 Collision Warning With Auto
       Brake - A Real Life Safety Perspective
       (Keifer DepEx 83)
 251   26 2010 CIB Second Annual Report
       Pedestrian CAMP (Keifer DepEx 83)
 252   27 2011 Objective Tests for Automatic
       Crash Imminent Braking System
       Appendices 2 of 2 CAMP (Keifer DepEx
       83)
 253   28 2011 Objective Tests for CIB Systems
       Final Report Vol 1 of 2 CAMP (Keifer
       DepEx 83)
 254   29 2008 Centre for Automotive Safety
       Research Vehicle Improvements to
       Reduce the Number and Severity of Rear
       End Crashes Adeline University Australia
       (Keifer DepEx 83)
 255   30 2010 Analysis of Crash Data to
       Estimate the Benefits of Emerging Vehicle
       technology R Anderson (Keifer DepEx 83)
 256   31 2012 Centre for Automotive Safety and
       Research Potential Benefits of Forward
       Collision Avoidance Technology (Keifer
       DepEx 83)
 257   32 2002 Crash Avoidance Metrics
       Partnership Annual Report CAMP (Keifer
       DepEx 83)



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 NO.         EXHIBIT DESCRIPTION                   BATES   OBJECTIONS
 258   33 Large Scale Field Test of Forward
       Collision Alert and Lane Departure
       Warning System (Keifer DepEx 83)
 259   [not used]
 260   [not used]
 261   [not used]
 262   [not used]
 263   [not used]
 264   [not used]
 265   [not used]
 266   Handwritten notes of Micky Gilbert
 267   2021-10-29 Report of Micky Gilbert
 268   2020-06-11 Gilbert Invoice
 269   Gilbert Accident Reconstruction
       photographic overlays
 270   Gilbert Impact Calculations, 33 ft
 271   Gilbert Calculating A and B Stiffness
       Coefficients from Crash Test: NHTSA
       M50108
 272   Gilbert Impact Calculations, 61 ft
 273   Gilbert Crush Profile
 274   10 CFR Part 202-Production or Disclosure
       of Material or Information
 275   2021-01-27 Letter Hammond from to
       Sanchez
 276   2021-01-26 Notice of Deposition of
       Michael Hillman for March 4, 2022
 277   5.0 Board Members, Advisors and
       Consultants, including Mike Hillman.
       CONNELL006950-6952
 278   2018-10-18 Memo for Hillman from
       Wyka re Federal Accident Investigation
 279   DOE Order 225.1B re responsibilities,
       authorities and requirements for
       conducting accident investigations
 280   2012-09 DOE, A Guide for Accident
       Investigation Chairpersons
 281   2016-01-28 Efficacy of AOCC Non-
       Operational E-Plated Fleet to a GSA Fleet
 282   Excerpt, Times of Departure
       (Connell006891)



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 NO.         EXHIBIT DESCRIPTION                  BATES    OBJECTIONS
 283   Fatal Motor Vehicle Traffic Accident
       Analysis, Amit Reizes
 284   2018-10-31 Email string re Luggage
       Photos (Hillman)
 285   Review Comments for the OST Vehicle
       Fatality Report, with highlights,
       Hillman79-114
 286   2018-10-27 Hillman email re Draft of
       Narrative of Events
 287   2018-12-07 Hillman email re Logan
       Thomas' Actions during vehicle accident
       of Oct 5, 2018
 288   Screenshot of computer files (Hillman)
 289   2022-02-01 Hillman email string re
       Investigative Board DOE NNSA Agent
       Overshiner's statement
 290   2022-01-24 Notice of Deposition of
       Michael Hillman for March 9, 2022
 291   Neil Hannman's notes
 292   2021-11-05 FACT Hanneman Report
 293   EyeSight Limitations brochure, Subaru
 294   Subaru EyeSight booklet excerpt re
       PreCollision Braking System
 295   Subaru EyeSight booklet excertp re About
       EyeSight
 296   Group of documents brought to deposition
       by Neil Hanneman
 297   FACT Invoices
 298   Presentation by Shawn Harrington of
       Subaru ADAS System
 299   An Overview of the Subaru EyeSight
       Advanced Driver Assistance System,
       Harrington, Shawn
 300   2021-11-05 Shawn Harrington Report
 301   2021-04 Euro NCAP Test Protocol, AEB
       Car-to-Car Systems
 302   Shawn Harrington's handwritten notes and
       calculations
 303   2021-11-05 Report of David Peck
 304   David Peck's CV
 305   Photo of road with skid marks




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 NO.          EXHIBIT DESCRIPTION                   BATES   OBJECTIONS
 306   Photo of road with skid and burn marks,
       with blue circles
 307   2019-06-18 Automotive IQ, Intelligent
       Braking conference presentation
 308   A Review of the VORAD Vehicle
       Detection and Driver Alert System, SAE
       922495, Murphy & Woll
 309   David Peck Invoice, Sept - Nov. 2021
 310   Print-out of certain Peck file documents
 311   2021-11-05 Report of William Vigilante
 312   Vigilante Invoices
 313   Vigilante's Notes from phone conferences
       with Gilbert and Hanneman
 314   Vigilante testimony list, with handwritten
       notes of P or D
 315   2021-12-31 GM Annual Report, Form
       10K
 316   2004 Traffic Safety Facts FARS-GES
       Annual Report
 317   2008 Traffic Safety Facts FARS-GES
       Annual Report
 318   2009 Traffic Safety Facts FARS-GES
       Annual Report
 319   CV of Micky Gilbert
 320   File of Micky Gilbert
 321   Photos and charts from report of Micky
       Gilbert
 322   Micky Gilbert trial presentation summary
       documents
 323   Micky Gilbert's reference material
 324   CV of Neil Hanneman

 325   Photos, charts from report of Neil
       Hanneman
 326   Neil Hanneman trial presentation summary
       documents
 327   Neil Hanneman's file
 328   Video: 05-02-02c Caddy Same 10.mp4

 329   Video: 07-01-02c Subaru Same 10.mp4




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 NO.         EXHIBIT DESCRIPTION                   BATES   OBJECTIONS
 330   Video: 07-02-06c Subaru Half 20.mp4

 331   Video: Youngberg Test 1.mp4

 332   Video: Youngberg Test 4-5-6.mp4

 333   Automatic Emergency Braking reference
       material
 334   IIHS information – ADAS

 335   2013 IIHS Safety Ratings

 336   2020 IIHS Safety Ratings

 337   NHTSA information - Automatic
       Emergency Braking
 338   Hanneman Reference Material

 339   Master Test Sheet

 340   13.47 ADAS information

 341   2020 Chevrolet Express evaluation video,
       TimerP9220017.mp4
 342   2021 Chevrolet Express evaluation video,
       TimerP9220019.mp4
 343   2022 Chevrolet Express evaluation video,
       TimerP9220020.mp4
 344   2023 Chevrolet Express evaluation video,
       TimerP9220021.mp4
 345   Schittenhelm, H., “Advanced Brake Assist
       – Real World effectiveness of current
       implementations and next generation
       enlargements by Mercedes-Benz, paper
       number 13-0194, 23rd Enhanced Safety
       Vehicle Conference, 2013.
 346   Lindman, M., et. al., “Benefit Estimation
       Model for Pedestrian Auto Brake
       Functionality.”




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 NO.          EXHIBIT DESCRIPTION                    BATES   OBJECTIONS
 347   National Highway Traffic Safety
       Administration, “Automotive Collision
       Avoidance System Field Operational Test,
       First Annual Report.” DOT HS 809 196,
       December 2000.
 348   Najm, W., G., Smith, D., L., “Definition of
       a Pre-Crash Scenario Typology for
       Vehicle Safety Research”, NHTSA paper
       number 07-0412.
 349   Lewis, E., E., “How safe is safe enough?”,
       2014
 350   OUJI 3d (Rev 2009), “A product is
       defective when it is not reasonably fit for
       the ordinary purposes for which such
       products are intended or may reasonably
       be expected to be used.” (OUJI 12.2)
 351   NHTSA, “Large-Scale Field Test of
       Forward Collision Alert and Lane
       Departure Warning Systems.” U.S
       Department of Transportation, National
       Highway Traffic Safety Administration,
       DOT HS 812 247, February 2016.
 352   NHTSA, “Crash Avoidance Metrics
       Partnership, Annual Report, April 2001 –
       March 2002”, U.S Department of
       Transportation, National Highway Traffic
       Safety Administration, DOT HS 809 531,
       December 2002.
 353   Shawn Harrington's CV
 354   Shawn Harrington's Photos, charts from
       report
 355   Shawn Harrington trial presentation
       summary documents
 356   Shawn Harrington's file materials
 357   European New Car Assessment
       Programme (Euro NCAP) Test Protocol –
       AEB Systems. Version 3.0.3, April 2021.
 358   David Peck's Photos & Charts, from report
 359   David Peck's trial presentation summary
       documents
 360   David Peck's file materials




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 NO.          EXHIBIT DESCRIPTION                   BATES   OBJECTIONS
 361   1992-11-16 SAE922495 Review of
       VORAD Vehicle Detection & Driver Alert
       System
 362   1993-11-01 SAE933063 Review of Eaton
       VORAD Vehicle Coll Warning System
 363   1995-11-13 SAE952619 Vehicle Collision
       Warning System w Data Recording
       Capability
 364   1997-08-06 SAE972669 Monopulse Radar
       for Intelligent Cruise Control
 365   1997-11-17 SAE973184 Radar Based
       Adap Cruise Cont for Truck Appls
 366   2015 Red'd stopping distance &
       facilitating AEB by appl of advanced real-
       time data
 367   2018-08-03 Brake system architecture for
       highly automated driving
 368   2019-06-18 IQPC Braking conference
       material
 369   William Vigilante's CV
 370   William Vigilante's Photos & Chart, from
       report
 371   William Vigilante's trial presentation
       summary documents
 372   William Vigilante's file materials
 373   SAE international (2003). J2400: Human
       Factors in Forward Collision Warning
       Systems: Operating Characteristics and
       User Interface Requirements.
 374   ISO (2013). 15623-2013, Intelligent
       transport systems – Forward vehicle
       collision warning systems, performance
       requirements and test procedures.
 375   Kiefer, LeBlanc, Palmer, Salinger,
       Deering, and Shulman (1999).
       Development and Validation of Functional
       Definitions and Evaluation Procedures for
       Collision Warning/Avoidance Systems.
       DOT HS 808 964. NHTSA.




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 NO.          EXHIBIT DESCRIPTION                    BATES   OBJECTIONS
 376   CAMP (2005). Vehicle Safety
       Communications Project: Task 3 Final
       Report; Identify Intelligent Vehicle Safety
       Applications Enabled by DSRC. DOT HS
       809 859. P. 99.
 377   LeBlanc, Kiefer, Deering, Shulman,
       Palmer, and Salinger (2001). Forward
       Collision Warning: Preliminary
       Requirements for Crash Alert Timing.
       SAE Technical Paper 2001-01-0462.
 378   Schittenhelm (2013). Advanced Brake
       Assist – Real World effectiveness of
       current implementations and next
       generation enlargements by Mercedes-
       Benz. Paper No. 13-0194.
 379   Alexander & Lunenfeld (1986). Driver
       Expectancy in Highway Design and
       Traffic Operations. FHWA-TO-86-1. Pp.
       7-27.
 380   Krauss (2015). Forensic Aspect of Driver
       Perception and Response (4th Ed). Pp.
       13,14,51-54,76-78,84-89,93,94
 381   AASHTO (2011). A Policy on geometric
       design of highway and streets (6th
       Edition). American Association of State
       Highway and Transportation Officials. Pp.
       2-36 to 2-42, 3-1 to 3-8.
 382   OK DPS (2017). Oklahoma Driver’s
       Manual. Pp. 4.2, 5.1 to 5.12, 7.1 to 7.6,
       8.1, 9.4
 383   Flannigan, LeBlanc, Bogard, Nobukawa,
       Narayanaswanny, Leslie, Kiefer,
       Marchione, Beck, & Lobes (2016). Large-
       Scale Field Test of Forward Collision
       Alert and Lane Departure Warning
       Systems. DOT HS 812 247
 384   Isaksson-Hellman & Lindman (2015).
       Evaluation of rear-end collision avoidance
       technologies based on real world crash
       data. In Proceedings of the 3rd
       International Symposium on Future Active
       Safety Technology. Gothenburg, Sweden.




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 NO.         EXHIBIT DESCRIPTION                   BATES   OBJECTIONS
 385   Glassbrenner, Morgan, Kreeb, Svenson,
       Liddell, and Barickman (2017). A Target
       Population for Automatic Emergency
       Braking in Heavy Vehicles. DOT HS 812
       390.
 386   NTSB (2001). SIR: Vehicle and
       Infrastructure-Based Technology for the
       Prevention of Rear-End Collisions.
       PB2001-917003, NTSB/SIR-01/01. Pp. 1,
       2.
 387   Kiefer, Cassar, Flannagan, Jerome, &
       Palmer (2005). Surprise Braking Trials,
       Time-to-Collision and “First Look”
       Maneuvers Under Realistic Rear-End
       Crash Scenarios. DOT HS 809 902.
 388   Sayer, LeBlanc, Bogard, Funkhouser, Bao,
       Buonarosa, & Blankespoor (2011).
       Integrated Vehicle-Based Safety Systems
       Field Operations Test, Final Program
       Report. DOT HS 811 482. NHTSA.
 389   Blower (2014). Assessment of the
       Effectiveness of Advanced Collision
       Avoidance Technologies. UMTRI-2014-
       03. P. 23
 390   Tidwell, Blanco, Trimble, and Atwood
       (2015). Evaluation of Heavy-Vehicle
       Crash Warning Interfaces. DOT HS 812
       191. NHTSA.
 391   Cicchino (2017). Effectiveness of forward
       collision warning and autonomous
       emergency braking systems in reducing
       front-to-rear crash rates. Accident
       Analysis and Prevention, 99. Pp. 142-152.
 392   Leslie, Keifer, Meitzner, & Flannagan
       (2011). Effectiveness of general motors
       advanced driver assistance and
       headlighting systems. Accident Analysis
       and Prevention, 159. Pp. 1-7
 393   NHTSA (2009). Memorandum dated
       2/13/2009. Action: Submissions of
       Questions and Comments Given to
       NHTSA Regarding NCAP Enhancements.
       Docket NHTSA-2006-26555



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 NO.          EXHIBIT DESCRIPTION                     BATES       OBJECTIONS
 394   UOI Public Policy Center (2006). Rear
       End Crash Avoidance System (RECAS)
       Algorithms and Alerting Strategies:
       Effects of Adaptive Cruise Control and
       Alert Modality on Driver Performance.
       Final Report.
       https://ir.uiowa.edu/ppc_human_factors/2/
 395   Johansson and Rumar (1971). Drivers’
       Brake Reaction Times. Human Factors,
       13(1). Pp. 23-27.
 396   Olson & Sivak (1986). Perception-
       response time to unexpected roadway
       hazards. Human Factors, 28(1). Pp. 91-96.
 397   Adams Funeral Home Invoice and Notes        YNGBRG00001–
       re Youngberg                                00004
 398   Medical Examiner’s Report re Youngberg      YNGBRG0005–
                                                   00012
 399   Information for Economic Losses             YNGBRG00013–
       Determination re Youngberg                  00017
 400   Certificate of Release or Discharge from    YNGBRG00018
       Duty re Youngberg
 401   Final Leave & Earnings Statement re         YNGBRG00019
       Youngberg
 402   Youngberg 2010 Tax Return                   YNGBRG00020–
                                                   00022
 403   Youngberg 2011 Tax return                   YNGBRG00023–
                                                   00025
 404   Youngberg 2013 Tax Return                   YNGBRG00026–
                                                   00027
 405   Youngberg 2014 Tax Return                   YNGBRG00028–
                                                   00029
 406   Youngberg 2015 Tax Return                   YNGBRG00030–
                                                   00045
 407   Youngberg 2016 Tax Return                   YNGBRG00046–
                                                   00056
 408   Youngberg 2017 Tax Return                   YNGBRG00057–
                                                   00067
 409   Youngberg 2018 Tax Return                   YNGBRG00067-
                                                   00086
 410   Youngberg Correspondence from               YNGBRG00087–
       Economic and Financial Consulting Group     00137
       dated January 11, 2021



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 NO.         EXHIBIT DESCRIPTION                      BATES         OBJECTIONS
 411   Youngberg Statement from Economic and       YNGBRG00138
       Financial Consulting Group dated January
       11, 2021
 412   Youngberg Photos                            YNGBRG00139–
                                                   00231
 413   Youngberg Application for Letters of        YNGBRG00232–
       Independent Administration                  00234
 414   Youngberg Proof of Death                    YNGBRG00235-
                                                   00237
 415   Youngberg Oath of Independent               YNGBRG00238
       Administrator
 416   Youngberg Letters of Independent            YNGBRG00239
       Administrator
 417   Youngberg Order Granting Independent        YNGBRG00240-
       Administration and Appointing               00242
       Independent Administrator
 418   Ralph Scott File - 2020-12-08 Information   YNGBRG00243–
       for Economic Loss Determination re          00247
       Youngberg
 419   Ralph Scott File - 2021-01-11 Report re     YNGBRG00248–
       Youngberg                                   00272
 420   Ralph Scott File - K. Youngberg Final       YNGBRG00273
       Leave and Earning Statement
 421   Ralph Scott File - E-Mails between Scott    YNGBRG00274–
       and C. Parker re Youngberg                  00308
 422   Ralph Scott File - Exhibits 6-10 to Scott   YNGBRG00309–
       Report re Youngberg                         00334
 423   Ralph Scott File – Youngberg 2017 Tax       YNGBRG00335-
       Return                                      00345
 424   Ralph Scott File – Scott Statement for      YNGBRG00346
       Services, Youngberg
 425   Ralph Scott File – Excel spreadsheet        YNGBRG00347
       Youngberg
 426   Ralph Scott File - Youngberg Tax Returns    YNGBRG00348–
       2014 – 2018                                 00406
 427   Report of Dr. Sharna Wood, Assess Texas     Assess Texas
       (Waldrop)                                   000001-000016
 428   Medical records from AirMethods             AirMethods Med
       (Waldrop)                                   000001-000012
 429   Medical records from Saint Francis          SFH Med
       Hospital (Waldrop)                          000001-002561




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 NO.         EXHIBIT DESCRIPTION                      BATES         OBJECTIONS
 430   Medical records from Orthopedic and        OTSO Med
       Trauma Services of Oklahoma (Waldrop)      000001-000006
 431   Medical records from Pafford Medical       Pafford Med
       Services (Waldrop)                         000001-000019
 432   Medical records from Vibra Hospital of     Vibra Med
       Amarillo (Waldrop)                         000001-001091
 433   Medical records from American Medical      AMR Med
       Response (Waldrop)                         000001-000011
 434   Medical records from Craig Hospital        Craig Med
       (Waldrop)                                  000001-003344
 435   Medical records from Swedish Medical       Swedish Med
       Center (Waldrop)                           000001-000424
 436   Medical records from Radiology Imaging     RAI Med
       Associates (Waldrop)                       000001-000020
 437   Medical records from Hanger Prosthetics    Hanger Med
       & Orthotics West (Waldrop)                 000001-000046
 438   Medical records from Northwest Texas       NWT Med
       Health System (Waldrop)                    000001-000255;
                                                  WALDROP-
                                                  NWT-MR-
                                                  000256-000340
 439   Medical records from Lubbock Radiology     Lubbock Rad
       (Waldrop)                                  000001
 440   Medical records from Moody                 Moody Med
       NeuroRehabilitation Institute (Waldrop)    000001-000166
 441   Medical records from Pate Rehabilitation   WALDROP-
       (Waldrop)                                  PATE-000001-
                                                  000687
 442   Medical records from Joshua Family         WALDROP-
       Medicine Associates (Waldrop)              JFMA-MR-
                                                  000001-000104
 443   Medical records from Canadian Family       Cook Med
       Physicians (Waldrop)                       000001-000018
 444   Waldrop Videos                             Waldrop Vid 01-
                                                  35
 445   Waldrop Photos                             WALDROP
                                                  PHOTOS 001-
                                                  052
 446   Waldrop Financial Documents                Waldrop Fin
                                                  000001-000029




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 NO.          EXHIBIT DESCRIPTION                      BATES         OBJECTIONS
 447   Economic and Financial Consulting
       Group, Inc. (Dr. Ralph Scott) Report and
       Supplement (Waldrop)
 448   Catastrophic Life Care Plan (Dr.
       Marchetti) and Supplement (Waldrop)
 449   Medical Billing Summary (Waldrop)           Waldrop 000001
 450   Letter from Amber Nash, dated January       Waldrop 000002
       25, 2022 (Waldrop)
 451   Air Methods Billing Records (Waldrop)       AirMethods Bill
                                                   000001
 452   Billing records from American Medical       WALDROP-
       Response (Waldrop)                          AMRA-BR-
                                                   000001
 453   Billing records from Canadian Family        WALDROP-
       Physicians (Waldrop)                        CFP-BR-000001-
                                                   000007
 454   Billing records from CNS Medical Group,     WALDROP-
       PC (Waldrop)                                CNS-BR-000001-
                                                   000007
 455   Billing records from Craig Hospital         WALDROP-
       (Waldrop)                                   CRAIG-BR-
                                                   000001-000137
 456   Billing records from Hanger Prosthetics &   WALDROP-
       Orthotics West (Waldrop)                    HANGER-BR-
                                                   000001-000029
 457   Billing records from Joshua Family          WALDROP-
       Medical Associates (Waldrop)                JFMA-BR-
                                                   000001-000003
 458   Billing records from Lubbock Diagnostic     WALDROP-
       Radiology (Waldrop)                         LDR-BR-
                                                   000001-000002
 459   Billing records from Lubbock Radiology      WALDROP-
       (Waldrop)                                   LUBBOCKRAD-
                                                   BR-000001-
                                                   000002
 460   Billing records from Moody                  WALDROP-
       NeuroRehabilitation Institute (Waldrop)     MOODY-BR-
                                                   000001-000010
 461   Billing records from Northwest Texas        WALDROP-
       Hospital (Waldrop)                          NWTH-BR-
                                                   000001-000013




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 NO.          EXHIBIT DESCRIPTION                       BATES         OBJECTIONS
 462   Billing records from Orthopedic and          WALDROP-
       Trauma Services of Oklahoma (Waldrop)        OTSO-BR-
                                                    000001-000002
 463   Billing records from Pafford Medical         WALDROP-
       Services (Waldrop)                           PAFFORD-BR-
                                                    000001
 464   Billing records from Radiology Imaging       WALDROP-
       Associates (Waldrop)                         RIA-BR-000001-
                                                    000016
 465   Billing records from Radiology               WALDROP-
       Consultants of Tulsa (Waldrop)               RCT-BR-000001-
                                                    000004
 466   Billing records from Rocky Mountain          WALDROP-
       Holdings (Waldrop)                           RMH-BR-000001
 467   Billing records from Saint Francis Health    WALDROP-
       System (Waldrop)                             SFHS-BR-
                                                    000001-000029
 468   Billing records from Swedish Medical         WALDROP-
       Center (Waldrop)                             SWEDISH-BR-
                                                    000001-000006
 469   Billing records from Vibra Hospital of       WALDROP-
       Amarillo (Waldrop)                           VIBRA-BR-
                                                    000001-000013
 470   Billing records from Pate Rehabilitation     WALDROP-
       (Waldrop)                                    PATE-BR-
                                                    000001-000007
 471   Video footage taken at Pate Rehabilitation   WALDROP-
       on March 17, 2022 (Waldrop)                  BALLARD-
                                                    00001-00075
 472   Connell Statement                            Connell 000001


 473   Connell 2016, 2017, 2018 Tax Returns         Conf. Connell
                                                    000002-000024
 474   Connell W-2s                                 Conf. Connell
                                                    000025-000027
 475   Connell Workers Comp & Health                Connell 000028-
       Insurance Docs                               000072
 476   Connell Injury Photos                        Connell 000073-
                                                    000095
 477   Connell Before Photos                        Connell 000097-
                                                    000114



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 NO.          EXHIBIT DESCRIPTION                       BATES         OBJECTIONS
 478   Connell Shower quotes/photos                 Connell 000307-
                                                    000313
 479   Connell Air Evac EMS, Inc. Billing           Connell 000314–
       Affidavit and Billing Records                000316
 480   Connell American Medical Response            Connell 000338–
       Billing Affidavit and Billing Records        000339
 481   Connell Anesthesia Services of Amarillo      Connell 000340–
       Billing Affidavit and Billing Records        000342
 482   Connell Associated Anesthesiologist, Inc.    Connell 000343–
       Billing Affidavit and Billing Records        000345
 483   Connell Bioventus, LLC Billing Affidavit     Connell 000346–
       and Billing Records                          000348
 484   Connell Britkare Home Medical Billing        Connell 000408–
       Affidavit and Billing Records                000417
 485   Connell High Plains Radiological             Connell 000420–
       Association Billing Affidavit and Billing    000421
       Records
 486   Connell Independence Physician               Connell 000432–
       Management Billing Affidavit and Billing     000438
       Records
 487   Connell Lone Star Anesthesia Consultants,    Connell 000439–
       PLLC Billing Affidavit and Billing           000441
       Records
 488   Connell MDIG of Texas, PLLC Billing          Connell 000442–
       Affidavit and Billing Records                000443
 489   Connell Northwest Texas Emergency at         Connell 004044–
       Town Square/Northwest Texas Hospital         004121
       Billing Affidavit and Billing Records
 490   Connell Northwest Texas Physicians           Connell 004122–
       Group Billing Affidavit and Billing          004131
       Records
 491   Connell Pafford Medical Services Billing     Connell 004250–
       Affidavit and Billing Records                004252
 492   Connell Panhandle Surgical Hospital          Connell 004260–
       Billing Affidavit and Billing Records        004271
 493   Connell Physicians Preferred Lab Billing     Connell 004366–
       Affidavit and Billing Records                004369
 494   Connell Radiology Consultants of Tulsa,      Connell 004375–
       Inc. Billing Affidavit and Billing Records   004379
 495   Connell Saint Francis Health System          Connell 004380–
       Billing Affidavit and Billing Records        004399




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 NO.          EXHIBIT DESCRIPTION                      BATES         OBJECTIONS
 496   Connell Dr. Susan Goetz Billing Affidavit   Connell 006558–
       and Billing Records                         006560
 497   Connell 2019 Tax Info                       Connell 006561-
                                                   006571
 498   Life Care Plan of Sean Connell              Connell 006572-
                                                   006662
 499   Connell Certificates                        Connell 006663-
                                                   006666
 500   Connell 2015-2021 Earning Statement         Connell 017160-
       Summaries                                   017339
 501   Connell Earning Statement Summary           Connell 017342-
       May-Dec 2018                                017375
 502   2021 Connell Earning Statement              Connell 017376

 503   Connell 10-29-21 Dr. Risko Narrative        Connell 017377
 504   Connell 10-27-21 Amarillo Bone & Joint      Connell 017378
       MRI
 505   Connell 2020 W-2                            Conf. Connell
                                                   017379
 506   Connell 2020 Tax Return                     Conf. Connell
                                                   017380-017388
 507   Connell Amarillo Bone & Joint Billing       Connell 017389–
       Affidavit and Billing Records               017397
 508   Connell Amarillo Bone & Joint Affidavit     Connell 017398–
       and Medical Records                         017522
 509   Amended Life Care Plan S. Connell           Connell 017523-
                                                   017565
 510   Lisa Cox, MHR, CRC, CLCP, LCVS,
       LLC report dated November 4, 2021
       (Connell)
 511   Economic and Financial Consulting
       Group, Inc./Dr. Ralph Scott report dated
       November 4, 2021 (Connell)


 512   Economic and Financial Consulting           Connell 017566-
       Group, Inc./Dr. Ralph Scott report dated    017571
       March 23, 2022 (Connell)




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 NO.          EXHIBIT DESCRIPTION                     BATES         OBJECTIONS
 513   Connell Air Evac EMS, Inc. Affidavit and   Connell 000317–
       Medical Records                            000337

 514   Connell Bioventus, LLC Affidavit and       Connell 000349–
       Medical Records                            000407
 515   Connell Care Communications LLC            Connell 000418–
       Affidavit of Common Records                000419
 516   Connell Independence Physician             Connell 000422–
       Management Affidavit and Medical           000431
       Records
 517   Connell Northwest Texas Hospital           Connell 000446–
       Affidavit and Medical Records              004043
 518   Connell Northwest Texas Physicians         Connell 004132–
       Group Affidavit and Medical Records        004249
 519   Connell Pafford Medical Services, Inc.     Connell 004253–
       Affidavit and Medical Records              004259
 520   Connell Panhandle Surgical Hospital        Connell 004272–
       Affidavit and Medical Records              004365
 521   Connell Physicians Preferred Lab           Connell 004370–
       Affidavit and Medical Records              004374
 522   Connell Saint Francis Health System        Connell 004400–
                                                  006557
 523   Photographs of Kevin Coffman from          COFFMAN
       before Collision.                          00001-000020
 524   Photographs of Kevin Coffman               COFFMAN
       performing training exercises before       000021–000035
       Collision.
 525   Kevin Coffman’s Fitness Center Records     COFFMAN
       from before Collision.                     000036–000038
 526   Kevin Coffman W-2s for 2015, 2016,         COFFMAN
       2017, 2018                                 000039–000040
 527   Kevin Coffman Form SF-50 for 2015-         COFFMAN
       2020                                       000041–000047
 528   Photographs of Kevin Coffman at St.        COFFMAN
       Francis Hospital                           000048-000072
 529   X-Rays of Kevin Coffman after Collision    COFFMAN
                                                  000073-000088
 530   Letter from Dr. Calder                     COFFMAN
                                                  000089
 531   Letter from Dr. Risko                      COFFMAN
                                                  000090



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 NO.          EXHIBIT DESCRIPTION                    BATES        OBJECTIONS
 532   Photograph of hardware.                    COFFMAN
                                                  000091
 533   Photograph of Heidi Coffman Gym            COFFMAN
                                                  000092
 534   Life Care Plan                             COFFMAN
                                                  000093-000184
 535   Video of Kevin Coffman performing rehab    COFFMAN
                                                  000185
 536   Video of Kevin Coffman performing rehab    COFFMAN
                                                  000186
 537   Video of Kevin Coffman performing rehab    COFFMAN
                                                  000187
 538   Video of Kevin Coffman performing rehab    COFFMAN
                                                  000188
 539   Video of Kevin Coffman performing rehab    COFFMAN
                                                  000189
 540   Video of Kevin Coffman performing rehab    COFFMAN
                                                  000190
 541   Video of Kevin Coffman performing rehab    COFFMAN
                                                  000191
 542   Video of Kevin Coffman performing rehab    COFFMAN
                                                  000192
 543   Video of Kevin Coffman performing rehab    COFFMAN
                                                  000193
 544   Video of Kevin Coffman performing rehab    COFFMAN
                                                  000194
 545   Video of Kevin Coffman performing rehab    COFFMAN
                                                  000195
 546   Video of Kevin Coffman performing rehab    COFFMAN
                                                  000196
 547   Video of Kevin Coffman performing rehab    COFFMAN
                                                  000197
 548   Video of Kevin Coffman performing rehab    COFFMAN
                                                  000198
 549   Medical records from Air Evac LifeTeam     AIR EVAC
       (Coffman)                                  RECORDS 0001-
                                                  0010
 550   Medical bills from Air Evac LifeTeam       AIR EVAC
       (Coffman)                                  BILLS 0001

 551   Medical records and St. Francis Hospital   SFH RECORDS
       (Coffman)                                  0001-1549




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 NO.          EXHIBIT DESCRIPTION                        BATES          OBJECTIONS
 552   Medical bills from St. Francis Hospital      SFH BILLS
       (Coffman)                                    0001-0047
 553   Medical records and bills from Pafford Air   PA RECORDS
       (Coffman)                                    0001-0008
 554   Medical bills from Pafford Air (Coffman)     PA BILLS 0001-
                                                    0003
 555   Medical records from Northwest Texas         NWTH
       Hospital (Coffman)                           RECORDS 0001-
                                                    2315
 556   Medical bills from Northwest Texas           NWTH BILLS
       Hospital (Coffman)                           0001-0059
 557   Medical records from Amarillo Bone &         AB&J
       Joint (Coffman)                              RECORDS 0001-
                                                    0063
 558   Medical bills and Billing Affidavit          AB&J BILLS
       produced by Defendant from Amarillo          0001-0002 &
       Bone & Joint. (Coffman)                      Billing Affidavit
                                                    produced by
                                                    Defendant
 559   Medical bills (no records) from Radiology    RCT BILLS
       Consultants of Tulsa (Coffman)               0001-0003


 560   Medical bills (no records) from Associated   AA BILLS 0001
       Anesthesiologists (Coffman)
 561   Medical records from Randall Wolcott,        WOLCOTT
       M.D. (Coffman)                               RECORDS 0001-
                                                    0005
 562   Medical bills from Randall Wolcott, M.D.     WOLCOTT
       (Coffman)                                    BILLS 0001

 563   Billing Affidavit produced by Defendant      Billing Affidavit
       from Britkare Home Medical (Coffman)         produced by
                                                    Defendant
 564   Medical bills from Neurosurgery              NS BILLS 0001
       Specialists (Coffman)

 565   Medical records from Northwest Texas         NWTX PHY
       Physician Network, PLLC (Dr. Glock, Dr.      GRP RECORDS
       Sessions, Dr. Goetz, and Dr. Obrock)         0001-0102
       (Coffman)




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 NO.          EXHIBIT DESCRIPTION                      BATES          OBJECTIONS
 566   Medical bills and Billing Affidavit         NWT PHY
       produced by Defendant from Northwest        BILLS 0001-
       Texas Physician Network, PLLC (Dr.          0006 and Billing
       Glock, Dr. Sessions, Dr. Goetz, and Dr.     Affidavit
       Obrock) (Coffman)                           produced by
                                                   Defendant
 567   Medical records from Orthopedic and         OTS OK
       Trauma Service of Oklahoma (Dr. Calder      RECORDS 0001-
       & Dr. Barrick) (Coffman)                    0032


 568   Medical bills and Billing Affidavit         OTS OK BILLS
       produced by Defendant from Orthopedic       0001 and Billing
       and Trauma Service of Oklahoma (Dr.         Affidavit
       Calder & Dr. Barrick) (Coffman)             produced by
                                                   Defendant
 569   Medical records from Southwest Retina       YSASAGA
       Specialists (Dr. Ysasaga - Optometrist)     RECORDS
       (Coffman)                                   0001–0014

 570   Medical bills from Southwest Retina         YSASAGA
       Specialists (Dr. Ysasaga - Optometrist)     BILLS 0001-
       (Coffman)                                   0005
 571   Medical bills from American Medical         AMR BILLS
       Response Ambulance (Coffman)                0001; Billing
                                                   Affidavit
                                                   produced by
                                                   Defendant
 572   Medical records and bills from Dr. Blake    OBROCK
       Obrock (Coffman)                            RECORDS 0001-
                                                   0002

 573   Medical records from Advanced Imaging       AIC RECORDS
       Center of Amarillo (Coffman)                0001

 574   Medical records from Northwest Texas        NWT
       Physicians (Coffman)                        PHYSICIANS
                                                   RECORDS
                                                   0001–0072
 575   Medical records and bills from University   UF HEALTH
       of Florida/Jacksonville (Coffman)           RECORDS
                                                   0001–0420



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 NO.          EXHIBIT DESCRIPTION                    BATES           OBJECTIONS
 576   Medical bills from University of          UF HEALTH
       Florida/Jacksonville (Coffman)            BILLS 0001–
                                                 0031
 577   Medical records from Seaside              SOI RECORDS
       Ophthalmology, Inc. (Coffman)             0001–0005
 578   Medical bills and Billing Affidavit       Billing Affidavit
       produced by Defendant from Seaside        produced by
       Ophthalmology, Inc. (Coffman)             Defendant
 579   Medical records from Benchmark Physical   BENCHMARK
       Therapy Services of Tennessee (Coffman)   PT RECORDS
                                                 0001–00158
 580   Medical bills from Benchmark Physical     BENCHMARK
       Therapy Services of Tennessee (Coffman)   PT BILLS 0001-
                                                 0028
 581   Medical bills from Physicians Surgical    PSH BILLS
       Hospitals. (Coffman)                      0001–0002; PSH
                                                 BILLS 0003-
                                                 0015
 582   Medical records from Southern             SOSM
       Orthopedics and Sports Medicine.          RECORDS
       (Coffman)                                 0001–0017
 583   Medical bills and Billing Affidavit       SOSM BILLS
       produced by Defendant from Southern       0001–0003 and
       Orthopedics and Sports Medicine.          Billing Affidavit
       (Coffman)                                 produced by
                                                 Defendant
 584   Medical records from Dr. Kyra L.          KLF RECORDS
       Ferrigan, O.D. (Coffman)                  0001–0003


 585   Medical bills and Billing Affidavit       KFI BILLS 0001
       produced by Defendant from Dr. Kyra L.    and Billing
       Ferrigan, O.D. (Coffman)                  Affidavit
                                                 produced by
                                                 Defendant
 586   Medical bills from Stay Focused Eyecare   SFE RECORDS
       (Coffman)                                 0001–0002


 587   Medical records from Stay Focused         SFE BILLS 0001
       Eyecare (Coffman)
 588   Medical records from Panhandle Surgical   PSH RECORDS
       Hospital. (Coffman)                       0001–0260


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 NO.          EXHIBIT DESCRIPTION                         BATES          OBJECTIONS
 589   Medical records from Jacksonville              JNC RECORDS
       Neurological Clinic (Coffman)                  0001-0011
 590   Medical records from Bryan Dental.             BD RECORDS
       (Coffman)                                      0001
 591   Medical X rays from Bryan Dental.              BD XRAY 0001–
       (Coffman)                                      0002
 592   Medical bills from University of Florida       UFPS BILLS
       Physician Services (Coffman)                   0001–0005
 593   March 24, 2021 Work Status Form from           COFFMAN 0199
       Southern Orthopaedics and Sports
       Medicine
 594   May 19, 2021 Physical/Occupational             COFFMAN 0200
       Therapy Prescription
 595   Report from Strategic Survivability            COFFMAN
       Research Group                                 0201–0206
 596   Job description for Nuclear Materials          COFFMAN
       Courier                                        0207–0218
 597   Letter from Dr. Brett Barrick                  COFFMAN 0219

 598   Kevin Coffman’s W-2s for 2015 - 2020           COFFMAN
                                                      0220–0225
 599   Dr. Ralph Scott, PhD Expert Report for
       Kevin Coffman
 600   Dr. Jason Marchetti Expert Report and
       Life Care Plan dated October 15, 2021, for
       Kevin Coffman
 601   Lisa Cox, MHR, CRC, CLCP, LCVS,
       LLC Expert Report
 602   Overshiner OU Medical center records &         Overshiner 0006-
       billing statements, and/or selected excerpts   0449, 0847
       thereof
 603   Overshiner Photographs depicting injuries/     Overshiner 0591-
       hospital treatment taken in October, 2018      596
 604   Overshiner McAlpin 6/24/2019                   Overshiner 0739-
       Impairment Rating Exam                         0743
 605   Overshiner Superior Health Care records        Overshiner 0802-
       & billing statements, and/or selected          0826, 0848-0861
       excerpts thereof
 606   Overshiner CF Medical billing records for      Overshiner
       Air Evac                                       00844-0846




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 NO.          EXHIBIT DESCRIPTION                        BATES          OBJECTIONS
 607   Overshiner vocational correspondences,        00878-900
       applications & forms with his employer
 608   Dr Jordan “second opinion” medical report     Overshiner
       dated 2/23/2021 re Overshiner                 00862-00868
 609   Pages from GM manual                          Overshiner
                                                     01051-1055
 610   Overshiner W-2s & Income Tax Filings          Overshiner
                                                     00597-0598,
                                                     01083, 00869-
                                                     876, 01084-
                                                     01387
 611   Overshiner Paystubs                           Overshiner
                                                     00599-0738,
                                                     00877-01050,
                                                     01056-01063
 612   Family & pre-accident photos with             Overshiner
       Overshiner                                    01075-1082

 613   Medical life care plan of Dr Marchetti, for   Overshiner
       William Overshiner                            00744-801
 614   Lisa Cox, MHR, CRC, CLCP, LCVS,
       LLC report for William Overshiner dated
       November 4, 2021
 615   Economic and Financial Consulting
       Group, Inc./Dr. Ralph Scott report for
       William Overshiner dated November 4,
       2021

 616   Overshiner Certificate from NNSA –            Overshiner 01392
       Distinguished Service Award



 617   DOL notice of referral results, Overshiner    Overshiner
                                                     01393-01394
 618   Overshiner CompTIA training class             Overshiner
       completion schedule/ time log                 01395-01396
 619   Overshiner DOL Rehabilitation plan &          Overshiner
       Award                                         01397-01400
 620   Overshiner CompTIA network security           Overshiner
       classes description                           01388-01391




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 NO.         EXHIBIT DESCRIPTION                      BATES        OBJECTIONS
 621   Overshiner’s written statement pertaining   Overshiner
       to 10/5/2018 accident                       00450-00451
 622   1900-2010 Timeline, Evolution of car        AGENTS000001-
       safety features _ AA                        AGENTS000007
 623   1993-06-18 Economic Impact of Motor-        AGENTS000008-
       Vehicle Crashes-U.S., 1990                  AGENTS000010
 624   1996-10 NHTSA Prelim Assessment of          AGENTS000011-
       Crash Avoidance Systems Benefit             AGENTS000122
 625   1998 Development of Collision Avoidance     AGENTS000123-
       Systems at Delphi                           AGENTS000128
 626   1998-04-01 Delphi Sees Collision            AGENTS000129-
       Avoidance Technology Catching on First      AGENTS000130
       Overseas
 627   1999 NHTSA Advanced Technologies            AGENTS000131-
                                                   AGENTS000136
 628   2000-12 NHTSA Automotive Collision          AGENTS000137-
       Avoidance System Field Op Test, 1st Ann     AGENTS000304
       Report
 629   2001 - 2017 Mercedes Safety Features        AGENTS000305-
       chart                                       AGENTS000320
 630   2001-05-01 NTSB Special Investigation       AGENTS000321-
       Report Vehicle & Infrastructure Based       AGENTS000379
       Tech for Prevention of Rear-end
       Collisions
 631   2001-05-25 NTSB Safety Rec H-01-14 re       AGENTS000380-
       Collision Warning Systems                   AGENTS000386

 632   2006-01-03 Delphi Provides Advanced         AGENTS000387-
       Collision Warning System for European       AGENTS000387
 633   2006-08 Bosch Front Radar Sensor            AGENTS000388-
                                                   AGENTS000388
 634   2007 07-0450-O Collision Warning with       AGENTS000389-
       Automatic Brake, NHTSA                      AGENTS000397
 635   2008-01-14 Delphi, Mobileye to Supply       AGENTS000389-
       Active Safety to Volvo                      AGENTS000401
 636   2008-10-03 Delphi Offers Collision          AGENTS000402-
       Warning System For Trucks - Products -      AGENTS000403
       Trucking Info
 637   2009-09 What Will the Car of the Future     AGENTS000404-
       Look Like, Delphi                           AGENTS000411
 638   2010-06 NHTSA Crash Imminent Braking        AGENTS000412-
       (COB) 2d Annual Report                      AGENTS000458
 639   2010-09-19 Collision Warning with Full      AGENTS000459-
       Auto Braking                                AGENTS000460


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 NO.         EXHIBIT DESCRIPTION                    BATES        OBJECTIONS
 640   2010-10-01 Affordable Cars Could Soon     AGENTS000461-
       Offer Collision-Avoidance Systems         AGENTS000462
 641   2011 Mercedes-Benz Collision-Prevention   AGENTS000463-
       Assist                                    AGENTS000464
 642   2011-01 Development of a Camera-Based     AGENTS000465-
       Forward Collision Alert System            AGENTS000476
 643   2011-03-24 Bendix Wingman Advanced        AGENTS000477-
       Collision Mitigation Tech brochure        AGENTS000480
 644   2011-05-10 Q&A with Delphi_ Advanced      AGENTS000481-
       driver assist systems                     AGENTS000482
 645   2011-09 Objective Tests for Automatic     AGENTS000483-
       Crash Imminent Braking (CIB) Systems,     AGENTS000632
       Final 1 of 2
 646   2011-09 RPO Central_ So What’s An         AGENTS000633-
       RPO Code Anyway; GM Authority             AGENTS000634
 647   2011-09-30 GM Introduces Two Industry-    AGENTS000635-
       First Safety Features                     AGENTS000637
 648   2012-02-10 Sensor Fusion Enables          AGENTS000638-
       Cadillac Safety Advancements              AGENTS000640
 649   2013 Chevrolet Express Owner’s Manual     AGENTS000641-
                                                 AGENTS001052
 650   2013 Chevrolet Express 3500 Specs, Price, AGENTS001054-
       MPG & Reviews, Cars                       AGENTS001059
 651   2013 GM Chevy Express Van VIN             AGENTS001060-
       1GAZG1FA8D1168728 Decoder                 AGENTS001064
 652   2013-02-07 NHTSA NCAP Forward             AGENTS001065-
       Collision Warning System Confirmation     AGENTS001104
       Test
 653   2013-05-07 2014-Chevrolet-Impala-         AGENTS001105-
       Focuses-on-Crash-Avoidance-From-All-      AGENTS001106
       Angles
 654   2013-01 Advanced Brake Assist - Real      AGENTS001107-
       World effectiveness of current            AGENTS001120
       implementations and next generation
       enlargements by Mercedes-Benz,
       Schittenhelm, No. 13-0194
 655   2014-01 UMTRI Assessment of               AGENTS001121-
       Effectiveness of Adv Collision Avoidance AGENTS001165
       Tech
 656   2014-04-30 The Crash-Proof Car - IEEE     AGENTS001166-
       Spectrum                                  AGENTS001172
 657   2014-09-09 GM Has Long Envisioned a       AGENTS001173-
       Day When Cars Don’t Crash                 AGENTS001176


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 NO.         EXHIBIT DESCRIPTION                      BATES        OBJECTIONS
 658   2014-12-04 City Safety by Volvo -           AGENTS001177-
       outstanding crash prevention standard on    AGENTS001179
       XC90
 659   2015-03-16 Comparison of Expected           AGENTS001180-
       Crash and Injury Reduction.                 AGENTS001182
 660   2015-05-19 NTB, SIR1501 Special             AGENTS001183-
       Investigation Report, Use of Forward        AGENTS001245
       Collision Avoidance Systems
 661   2015-09 Bendix Wingman Fusion               AGENTS001246-
       Brochure BW3025                             AGENTS001255
 662   2015-09-11 10 car companies make            AGENTS001256-
       automatic brakes standard                   AGENTS001257
 663   2015-11-13 Mercedes-Benz Brake Assist       AGENTS001258-
       System _ Mercedes-Benz of Massapequa        AGENTS001258
 664   2016 Autonomous Vehicle Technology, A       AGENTS001259-
       Guide for Policymakers                      AGENTS001472
 665   2016 Saving Lives with Safer Cars - The     AGENTS001473-
       Past, Present and Future of Consumer        AGENTS001489
       Safety Ratings
 666   2016-01-27 Effectiveness of forward         AGENTS001490-
       collision warning & autonomous              AGENTS001500
       emergency braking
 667   2016-01-28 Front crash prevention slashes   AGENTS001501-
       police-reported rear-end crashes            AGENTS001505
 668   2016-03 GM Supports Historic Agreement      AGENTS001506-
       on Automatic Emergency Braking              AGENTS001507
 669   2017-04 HLDI Bull34.06 GM collision         AGENTS001508-
       avoidance features                          AGENTS001525
 670   2017-09 HLDI Predicted availability &       AGENTS001526-
       fitment of safety features                  AGENTS001537
 671   2018-02 European Commission, Vehicle        AGENTS001538-
       Safety, European Commission, Directorate    AGENTS001616
       General for Transport
 672   2018-03 Evolution-and-Benefits-of-          AGENTS001617-
       Collision-Avoidance, Final                  AGENTS001622

 673   2018-07-19 IIHS-HLDI CAS Crash              AGENTS001623-
       Course                                      AGENTS001735
 674   2018-09 Predicted availability & fitment    AGENTS001736-
       of safety features, 2018 update             AGENTS001747
 675   2018-11 Chevrolet Express Gains Active      AGENTS001748-
       Safety Tech _ GM Authority                  AGENTS001750
 676   2018-11-05 Car & Driver, We Crash Four      AGENTS001751-
       Cars to Test Automatic Braking Systems      AGENTS001757


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 NO.         EXHIBIT DESCRIPTION                   BATES        OBJECTIONS
 677   2018-11-13 IIHS GM front crash           AGENTS001758-
       prevention systems cut police-reported   AGENTS001761
       crashes
 678   2019-03-01 Automatic Emergency           AGENTS001762-
       Braking & Forward Coll                   AGENTS001772
 679   2019-03-13 10 automakers equipped most   AGENTS001773-
       of their 20                              AGENTS001776
 680   2019-06-11 Hands-on with the 2019        AGENTS001777-
       Mercedes-Benz Sprinter safety tech -     AGENTS001781
       Roadshow
 681   2019-08-05 Guide to Automatic            AGENTS001782-
       Emergency Braking - Consumer Reports     AGENTS001789
 682   2019-09 UMTRI Analysis of Field          AGENTS001790-
       Effectiveness of GM Safety & Adv         AGENTS001822
       Headlighting Systems
 683   2019-12-31 GM Annual Report SEC Form     AGENTS001823-
       10-K                                     AGENTS002071
 684   2020 Cadillac-CT5 Owner’s Manual         AGENTS002072-
                                                AGENTS002430
 685   2020 Euro NCAP AEB Car-to-Car            AGENTS002431-
       Vehicle Ratings Explained                AGENTS002433
 686   2020 Introducing the Next Generation     AGENTS002434-
       2021 GMC Yukon _ GMC Life                AGENTS002446
 687   2020-03-04 NTSB letter to ET Doc, FCC,   AGENTS002447-
       re Intelligent Transportation System     AGENTS002451
 688   2020-04-06 CARFAX -2013                  AGENTS002452-
       CHEVROLET EXPRESS G3500 LT_              AGENTS002455
       1GAZG1FA8D1168728
 689   2020-04-10 How Tesla Autopilot           AGENTS002456-
       compares to Cadillac Super Cruise -      AGENTS002484
       Business Insider
 690   2020-04-17 NTSB Safety                   AGENTS002485-
       Recommendations                          AGENTS002512
 691   2020-08-26 Bosch Automatic emergency     AGENTS002513-
       braking                                  AGENTS002522
 692   2020-09-24 Bosch Front radar sensor      AGENTS002523-
                                                AGENTS002530
 693   2021-01-05 Guide to Cars with Advanced   AGENTS002531-
       Safety Systems - Consumer Reports        AGENTS002558
 694   A quick guide to ADAS - Delphi Auto      AGENTS002559-
       Parts                                    AGENTS002568
 695   Advanced Driver Assistance Systems       AGENTS002569-
       (ADAS) calibration _ Delphi Auto Parts   AGENTS002575



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 NO.         EXHIBIT DESCRIPTION                     BATES        OBJECTIONS
 696   General Motors Forward Collision Alert     AGENTS002576-
       Info _ GM Authority                        AGENTS002577
 697   General Motors Front Automatic Braking     AGENTS002578-
       Info _ GM Authority                        AGENTS002579
 698   GM Wentzville Assembly Plant               AGENTS002580-
                                                  AGENTS002584
 699   NHTSA Automatic Emergency Braking          AGENTS002585-
                                                  AGENTS002586
 700   NHTSA Forward Collision Warning            AGENTS002587-
       Systems                                    AGENTS002588
 701   Should Autonomous Emergency Braking        AGENTS002589-
       (AEB) Be Mandatory                         AGENTS002593
 702   Links to online videos                     AGENTS002594-
                                                  AGENTS002594
 703   2018-10-30 Photos taken by Cline Young     AGENTS002595-
                                                  AGENTS002707
 704   2019-04-16 Photos taken by Cline Young     AGENTS002708-
                                                  AGENTS003019
 705   Gilbert Engineering Drone Photos           AGENTS003020-
                                                  AGENTS003101
 706   Gilbert Engineering Scene Photos           AGENTS003102-
                                                  AGENTS003179
 707   Gilbert Engineering Vehicle (Van) Photos   AGENTS003180-
                                                  AGENTS003474
 708   Gilbert Engineering Vehicle MG Photos      AGENTS003475-
                                                  AGENTS003624
 709   Gilbert Engineering Vehicle MR Photos      AGENTS003625-
                                                  AGENTS003944
 710   2019-01-11 Official Oklahoma Traffic       AGENTS003945-
       Collision Report, Final                    AGENTS003949
 711   2018-10-05 Oklahoma Highway Patrol         AGENTS003950-
       Motor Vehicle Death Case File              AGENTS010716
 712   2018-10-12 OHP Report of Investigation     AGENTS010717-
                                                  AGENTS010732
 713   2018-11-19 OHP Drone Photo                 AGENTS010733-
                                                  AGENTS010733
 714   2018-10-05 Sean Connell statement          AGENTS010734-
                                                  AGENTS010734
 715   2018-10-16 Kevin Coffman Interview         AGENTS010735-
                                                  AGENTS010736
 716   2018-10-05 Daniel Forbus Written           AGENTS010737-
       Statement to OK DPS                        AGENTS010738
 717   2018-10-05 Daniel Forbus Written           AGENTS010739-
       Statement [3 p]                            AGENTS010741


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 NO.         EXHIBIT DESCRIPTION                   BATES        OBJECTIONS
 718   2018-10-23 Donald Thomas Statement to    AGENTS010742-
       OHP                                      AGENTS010747
 719   2018-11-05 Jimmy Hennesey Statement      AGENTS010748-
                                                AGENTS010748
 720   Scene Photos 0001-0088                   AGENTS010749-
                                                AGENTS010836
 721   DashCam, Trooper Hart #3313              AGENTS010837

 722   OKDPS Interview of Christie Connell      AGENTS010838
 723   OKDPS Interview of Donald Thomas         AGENTS010839
 724   OKDPS Interview of Daniel Forbus 1       AGENTS010840
 725   OKDPS Interview of Daniel Forbus 2       AGENTS010841
 726   OKDPS Interview of Kevin Coffman         AGENTS010842
 727   OKDPS Interview of Tina Smith            AGENTS010843
 728   OKDPS Interview of Will Overshiner       AGENTS010844
 729   OKDPS Mapping files [native]             AGENTS010845
 730   OKDPS Photo Log 1                        AGENTS010846-
                                                AGENTS010850
 731   OKDPS Photo Log 2                        AGENTS010851-
                                                AGENTS010851
 732   OKDPS Drone Photos                       AGENTS010852-
                                                AGENTS011079
 733   OKDPS Drone Photos 2                     AGENTS011080-
                                                AGENTS011082
 734   OKDPS Scene Photos                       AGENTS011083-
                                                AGENTS011108
 735   OKDPS Thomas Photos                      AGENTS011109-
                                                AGENTS011112
 736   OKDPS Tina Smith Photo                   AGENTS011113-
                                                AGENTS011113
 737   OKDPS Vericom                            AGENTS011114-
                                                AGENTS011114
 738   Carfax - Chevy Express Van               AGENTS011115-
                                                AGENTS011116
 739   Carfax - Kenworth                        AGENTS011117-
                                                AGENTS011120
 740   2002-03-07 GM rolls out 2003 full-size   AGENTS011121-
       vans - Fleet Owner                       AGENTS011130
 741   2003 Chevrolet Express Owners Manual     AGENTS011131-
                                                AGENTS011532
 742   2011 GM Fleet Guide                      AGENTS011533-
                                                AGENTS011634




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 NO.          EXHIBIT DESCRIPTION                     BATES        OBJECTIONS
 743   2013 GM Car & Truck Guide                   AGENTS011635-
                                                   AGENTS011745
 744   2016 GM Supports Historic Agreement on      AGENTS011746-
       Automatic Emergency Braking                 AGENTS011748
 745   2019 Chevy Express Cutaway 3500 and         AGENTS011749-
       4500 Vans - GM Fleet                        AGENTS011758
 746   2019 GM Fleet Guide                         AGENTS011759-
                                                   AGENTS011869
 747   2019-08-22 Wen v GM, Affidavit of Brian     AGENTS011870-
       Thompson                                    AGENTS011881
 748   2020 Chevy Express Cutaway 3500 and         AGENTS011882-
       4500 Vans - GM Fleet                        AGENTS011890
 749   2020 GMC Safety & Driver Assistance         AGENTS011891-
       Technology - 2020 Vehicles                  AGENTS011899
 750   2021 Vehicle Active Safety Technologies     AGENTS011900-
       - GM Fleet                                  AGENTS011904
 751   IIHS Safety Ratings - Front Crash           AGENTS011905-
       Protection 2013                             AGENTS011910
 752   IIHS Safety Ratings - Front Crash           AGENTS011911-
       Protection 2014                             AGENTS011915
 753   IIHS Safety Ratings - Front Crash           AGENTS011916-
       Protection 2015                             AGENTS011921
 754   IIHS Safety Ratings - Front Crash           AGENTS011922-
       Protection 2016                             AGENTS011928
 755   IIHS Safety Ratings - Front Crash           AGENTS011929-
       Protection 2017                             AGENTS011937
 756   Links to Videos - 1st Supplemental          AGENTS011938-
                                                   AGENTS011938
 757   2005-06-06 Motor Vehicle Safety             AGENTS011939-
       Technology Development, The Road            AGENTS011956
       Ahead, An Industry View; Lange, Robert
 758   2013 Cadillac SRX Owner's Manual            AGENTS011957-
                                                   AGENTS012388

 759   2018 Toyota Safety Sense brochure           AGENTS012389

 760   2020-08-07 Equipment World, Truck           AGENTS012390-
       crashes cut by 50% for these major fleets   AGENTS012393
       using driver assistance tech
 761   Ray Kiefer deposition exhibits from         AGENTS012394
       Spencer v GM

 762   1956 Firebird II video from GM Heritage     AGENTS012395
       website



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 NO.          EXHIBIT DESCRIPTION                       BATES        OBJECTIONS
 763   1956 GM Heritage Center, Self-Driving         AGENTS012396-
       Cars in 1956                                  AGENTS012403
 764   1976 Kossar - high tech RSV                   AGENTS012404-
                                                     AGENTS012412
 765   1979-06-06 Struble -Highlights of the         AGENTS012413-
       Minicars' RSV Program                         AGENTS012441
 766   1980 Kossar High Technology RSV               AGENTS012442-
                                                     AGENTS012449
 767   2004 Cadillac XLR Owners Manual               AGENTS012450-
                                                     AGENTS012807
 768   2005-05 Automotive Collision Avoidance        AGENTS012808-
       System Field Operational Test, Final          AGENTS012918
       Program Report, DOT HS 809 886
 769   2005 Cadillac STS Owners Manual               AGENTS012919-
                                                     AGENTS013356

 770   2005 Cadillac STS review - Roadshow           AGENTS013357-
                                                     AGENTS013361
 771   2005-050 Automotive Collision                 AGENTS013362-
       Avoidance System Field Operational Test       AGENTS013472
       Final Rpt NHTSA
 772   2006 Cadillac DTS Owner’s Manual              AGENTS013473-
                                                     AGENTS013920
 773   2006-09-01 2006 Cadillac DTS, The last        AGENTS013921-
       stalwart at Cadillac gets a sportier shape.   AGENTS013927
       Car & Driver.
 774   2008 Saturn Ad - The Rich Don't Deserve       AGENTS013928-
       to be Safer                                   AGENTS013928
 775   2010 NHTSA Safety is Not an Option            AGENTS013929-
                                                     AGENTS013929
 776   2011-07-29 Fed Reg NCAP Safety                AGENTS013930-
       Labeling, Final Rule                          AGENTS013947
 777   2011-09-29 New Camera-Based Collision         AGENTS013948-
       Alert Debuts on GMC Terrain. GMC              AGENTS013949
       Pressroom
 778   2011-11-14 Chevrolet Equinox Raises           AGENTS013950-
       Content Bar for 2012. GM Newsroom             AGENTS013951
 779   2012-03-27 Technology on XTS, ATS             AGENTS013952-
       Can Help Avoid Crashes. GM Newsroom           AGENTS013954
 780   2012-04-02 Cadillac Enhances                  AGENTS013955-
       Technology and Design on 2013 SRX.            AGENTS013961
       GM Newsroom
 781   2012-05-12 2013 GMC Terrain Denali            AGENTS013962-
       Priced from $35,350. GM Newsroom              AGENTS013962


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 NO.         EXHIBIT DESCRIPTION                   BATES          OBJECTIONS
 782   2012-06-22 Cadillac ATS Safety is Rooted AGENTS013963-
       in Avoidance. GM Pressroom                 AGENTS013969
 783   2013 Cadillac ATS Owners Manual            AGENTS013970-
                                                  AGENTS014419
 784   2013 Cadillac SRX Owners Manual            AGENTS014420-
                                                  AGENTS014851
 785   2013 Cadillac XTS Owners Manual            AGENTS014852-
                                                  AGENTS015290
 786   2013-03-01 Feature Spotlight: Cadillac's   AGENTS015291-
       Driver Assist Technology Makes Driving     AGENTS015293
       Safer, Easier. GM Authority
 787   2013-05-29 2014 Sierra Denali Pairs        AGENTS015294-
       High-Tech Luxury and Capability. GM        AGENTS015297
       Newsroom
 788   2014-02-24 2015 GMC Yukon Family           AGENTS015298-
       Designed for Safety and Security -         AGENTS015300
       including Segment's First Front-Center Air
       Bag. GM Media
 789   2015-10-23 This Cadillac Concept had       AGENTS015301-
       radar crash-avoidance in 1959. Road &      AGENTS015304
       Track.
 790   2015-10-30 Minutes NHTSA-2015-0101- AGENTS015305-
       0002. Automatic Emergency Braking          AGENTS015310
       (AEB) Industry Voluntary Commitment
       Working Group Meeting
 791   2016-02-22 Minutes NHTSA-2015-0101- AGENTS015311-
       0003_attachment_1. Automatic               AGENTS015313
       Emergency Braking (AEB) Industry
       Voluntary Commitment Working Group
       Meeting
 792   2016-03-16 Minutes NHTSA-2015-0101- AGENTS015314-
       0004_attachment_1. Automatic               AGENTS015317
       Emergency Braking (AEB) Industry
       Voluntary Commitment Working Group
       Meeting
 793   2016-03-25 Minutes NHTSA-2015-0101- AGENTS015318-
       0005_attachment_1. Automatic               AGENTS015414
       Emergency Braking (AEB) Industry
       Voluntary Commitment Working Group
       Meeting
 794   2017 Performance Comparison Between a AGENTS015415-
       Camera Only AEF-FCW and a Camera-          AGENTS015422
       Radar Fusion AEB-FCW. Caspar, et al.
       No. 17-0283


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 NO.          EXHIBIT DESCRIPTION                       BATES        OBJECTIONS
 795   2018-08-08 The history of adaptive cruise AGENTS015423-
       control. Autonomous Vehicle International AGENTS015424

 796   2019 GM Heritage Center, Self-Driving         AGENTS015425-
       Cars, in 1956                                 AGENTS015432
 797   2019-09 UMTRI-2019-6 Final Analysis of        AGENTS015433-
       the Field Effectiveness of GM Production      AGENTS015465
       Active Safety and Advanced Headlighting
       Systems
 798   2019-10-31 FCA submission NHTSA-              AGENTS015466-
       2015-0101-0060_attachment_1                   AGENTS015466

 799   2015-10-23 This Cadillac Concept had          AGENTS015467-
       radar crash-avoidance in 1959. Road &         AGENTS015468
       Track.
 800   Second Supplemental list of links to online   AGENTS015467-
       videos                                        AGENTS015467
 801   2001-04 NHTSA Research Note re                AGENTS015468-
       Rollover Propensity of 15-Passenger Vans,     AGENTS015479
       Garrrot et al.
 802   2001-04-09 DOT Consumer Advisory &            AGENTS015480-
       2002-04-15 Consumer Advisory re               AGENTS015485
       increased rollover risk of 15-passenger
       vans
 803   2002-10-15 NTSB Safety Report,                AGENTS015486-
       Evaluation of the Rollover Propensity of      AGENTS015535
       15-passenger Vans
 804   2002-11-01 NTSB Safety                        AGENTS015536-
       Recommendation H-02-29 re potential of        AGENTS015540
       technological systems, particularly
       electronic stability control systems, to
       assist drivers of 15-passenger vans
 805   2003-08-04 NTSB Safety                        AGENTS015541-
       Recommendation H-03-22 re training for        AGENTS015545
       drivers of 12- and 15-passenger vans
 806   2003-08-04 NTSB Safety                        AGENTS015546-
       Recommendation H-03-18 re revising            AGENTS015548
       definition of buses and commercial
       vehicles to apply to 12- and 15-passenger
       vans
 807   2003-08-04 NTSB Safety                        AGENTS015549-
       Recommendation H-03-22 and -24                AGENTS015557
       through -27 re training for drivers of 12-
       and 15-passenger vans


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 NO.         EXHIBIT DESCRIPTION                    BATES        OBJECTIONS
 808   2004-04-21 NTSB Safety                    AGENTS015558-
       Recommendation H-4-8 through -14,         AGENTS015568
       Child Care Transportation Oversight
       Agencies
 809   2004-06 NHTSA/DOT HS 809 704              AGENTS015569-
       Testing the Dynamic Rollover Resistance   AGENTS015629
       of Two 15-Passenger Vans with Multiple
       Load Configurations
 810   2004-12 NTSB Safety Alert re 15-          AGENTS015630-
       Passenger Vans                            AGENTS015631

 811   2004 Cadillac XLR brochure                AGENTS015632-
                                                 AGENTS015651
 812   2004 Cadillac XLR Base 2dr Roadster       AGENTS015652-
       pricing & specs                           AGENTS015665
 813   2006 Savana Express 66-l-v8 Duramax,      AGENTS015666-
       Tom Sliney-Program Engineering            AGENTS015702
       Manager
 814   2013 Chevrolet Express 3500, New Car      AGENTS015703-
       Review, AutoTrader                        AGENTS015707
 815   2018-10-05 Fatal Motor Vehicle Traffic    AGENTS015708-
       Accident Analysis & Reconstruction        AGENTS015716
       Report, by Amit Reizes
 816   2003-05-20 Honda Develops World's First   AGENTS015717-
       Collision Mitigation Brake System         AGENTS015720
 817   2005-08-17 2006 Acura RL - Safety         AGENTS015721-
       Overview                                  AGENTS015724
 818   2006 Acura RL Sedan 35 TDS EVOX 2         AGENTS015725-
       815 image                                 AGENTS015725
 819   2011-10-01 49 CFR Vol7 Part 575, Ch V     AGENTS015726-
       Safety Regulations                        AGENTS015782
 820   2012 AEB Fitment Survey 2012 _ Euro       AGENTS015783-
       NCAP - For safer cars crash test safety   AGENTS015784
       rating
 821   2012-06 EuroNCAP AEB Fitment Survey       AGENTS015785-
       leaflet                                   AGENTS015794
 822   2013 Euro NCAP 2013 AEB Fitment           AGENTS015795-
       Survey                                    AGENTS015796
 823   2013 Implementation of Autonomous         AGENTS015797-
       Emergency Braking (AEB), the next step    AGENTS015802
       in Euro NCAP'S safety assessment
 824   2013-10-29 EuroNCAP press release, On     AGENTS015803-
       the Road with Autonomous Emergency        AGENTS015804
       Braking Systems


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 NO.         EXHIBIT DESCRIPTION                    BATES        OBJECTIONS
 825   2015-12-04 Fixing America’s Surface       AGENTS015805-
       Transportation Act [Pub. Law 114-94]      AGENTS016295
 826   2015-12-16 Fed. Register 80, No. 241,     AGENTS016296-
       NCAP Notice 2015-0119-0001                AGENTS016366
 827   2019-11-07 Continental High-tech          AGENTS016367-
       Solution for Anticipatory Driving         AGENTS016371
 828   2020-04-28 85 FR 23598 Gov. 5-Star        AGENTS016372-
       Safety Ratings                            AGENTS016375
 829   2020-09-23 Congress Turns to the GAO,     AGENTS016376-
       after NHTSA Blows Deadlines               AGENTS016378
 830   2021-08-25 Japanese Automaker Create      AGENTS016379-
       First Adaptive Cruise Control System      AGENTS016386
 831   2021-12-18 Most New Cars Have AEB         AGENTS016387-
       Safety Technology That Prevents Crashes   AGENTS016392
       - Consumer Reports
 832   2021-12-29 Watch semi-truck cover 80      AGENTS016393-
       miles on public streets, driverless       AGENTS016394

 833   2022-03-03 NCAP-ADAS- Request for         AGENTS016395-
       Comments, NHTSA 2021-0002                 AGENTS016630
 834   Continental ARS 308 Long Rng Radar        AGENTS016631-
       Sensor brochure                           AGENTS016633
 835   Continental ARS 404 - Overview            AGENTS016634-
                                                 AGENTS016639
 836   Continental ARS 408-21 Premium Long       AGENTS016640-
       Range Radar Sensor spec sheet             AGENTS016641
 837   Continental ARS_404_21_EN_HS Long         AGENTS016642-
       Range Radar Sensor 77GHz brochure         AGENTS016644
 838   Continental Corporation USA website       AGENTS016645-
       excerpts                                  AGENTS016657
 839   Video: Chrysler Town & Country -          AGENTS016658
       whisper ad
 840   Video: Cadillac - ACC ON - Dump 20        AGENTS016659
       mph
 841   Video: Subaru - Same Lane - Dump 10       AGENTS016660
       mph
 842   Video: Subaru - Same Lane - Dump 20       AGENTS016661
       mph
 843   Video links - 3d Supplemental             AGENTS016662
 844   49 USC SECTION 30103                      AGENTS016663-
                                                 AGENTS016678
 845   49 USC SECTION 30111                      AGENTS016679-
                                                 AGENTS016687



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 NO.          EXHIBIT DESCRIPTION                    BATES        OBJECTIONS
 846   49 USC SECTION 30119                       AGENTS016688-
                                                  AGENTS016693
 847   49 USC SECTION 30120                       AGENTS016694-
                                                  AGENTS016701
 848   49 USC SECTION 30165                       AGENTS016702-
                                                  AGENTS016706
 849   49 USC SECTION 30170                       AGENTS016707-
                                                  AGENTS016708
 850   2006-11-05 ASME Society Policy, Code       AGENTS016709-
       of Ethics of Engineers                     AGENTS016710
 851   2012-0-01 ASME Society Policy, Code of     AGENTS016711-
       Ethics of Engineers                        AGENTS016712
 852   2013 Chevrolet Express Passenger 3500      AGENTS016713-
       15 Pass Van RWD, 22 NHTSA                  AGENTS016733
       Complaints
 853   2013 Chevrolet Express Passenger 3500      AGENTS016734-
       15 Pass Van RWD, NHTSA 8 Recalls           AGENTS016745
 854   2013-08-03 Cadillac Radar Sensor Fusion,   AGENTS016746-
       CaddyInfo – Cadillac Conversations Blog    AGENTS016750
 855   2019-09-03 GM's 5th Supplemental           AGENTS016751-
       Responses to Plaintiff's 2nd               AGENTS016763
       Interrogatories; Fox v GM
 856   GM's Supplemental Responses to             AGENTS016764-
       Interrogatories, Collins v GM              AGENTS016768
 857   2008-03-07 GM's Supplemental               AGENTS016769-
       Interrogatories Concerning Amounts Paid    AGENTS016778
       to Expert Witnesses; Reynolds v. GM
 858   Exponent Invoices                          AGENTS016779-
                                                  AGENTS016782

 859   Delta V Biomechanics Invoices              AGENTS016783-
                                                  AGENTS016791
 860   Dynamic Analysis Gr Invoices               AGENTS016792-
                                                  AGENTS016812
 861   Safety hierarchy                           AGENTS016813-
                                                  AGENTS016813
 862   2010-04-12 SAE 2010-01-0145, The
       Effect of Frontal Collision Delta-V and
       Restraint Status on Injury Outcome,
       Heller, et al.
 863   1997 SAE 970393, Relationships Between
       Crash Casualties and Crash Attributes




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 NO.          EXHIBIT DESCRIPTION                      BATES           OBJECTIONS
 864   CV of Dr. Jason Marchetti

 865   CV of Ralph Scott, PhD

 866   2010-0412-12 SAW 2010-01-0145, The
       Effect of Frontal Collision Delta-V and
       Restraint Status on Injury Outcome,
       Heller, et al.
 867   1997 SAE 970393, Relationships Between
       Crash Casualties and Crash Attributes




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of April, 2022, I electronically transmitted the above
and foregoing document to the Clerk of Court using the ECF System for filing and transmittal of
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